Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2492 Filed 02/23/23 Page 1 of 37




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

JOSHUA MURRAY, individually and
on behalf of all others similarly situated,
                                              Case No. 4:22-cv-11107-FKB-DRG
                 Plaintiff,
                                              HON. F. KAY BEHM
                                              Magistrate Judge David R. Grand


      v.
                                              DEFENDANT NATIONAL
NATIONAL ASSOCIATION OF                       ASSOCIATION OF REALTORS’
REALTORS,                                     MOTION TO DISMISS
                                              PLAINTIFF’S SECOND
                 Defendant.
                                              AMENDED COMPLAINT


      Defendant National Association of Realtors® (“NAR”) respectfully moves

this Court for an order dismissing Plaintiff’s Second Amended Complaint with

prejudice pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).

Plaintiff lacks Article III standing because he cannot establish that he suffered an

actual injury in fact due to NAR’s alleged disclosure of his information to third

parties. In addition, the Second Amended Complaint fails to state a claim.
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2493 Filed 02/23/23 Page 2 of 37




Dated: February 23, 2023                  By: /s/ Tiana Demas
                                             Tiana Demas
                                             Philip M. Bowman
                                             COOLEY LLP
                                             55 Hudson Yards
                                             New York, NY 10001
                                             (212) 479-6000
                                             tdemas@cooley.com

                                             Khary J. Anderson
                                             COOLEY LLP
                                             1299 Pennsylvania Avenue, NW
                                             Suite 700
                                             Washington, DC 20004
                                             (202) 842-7800
                                             kjanderson@cooley.com

                                             Suzanne L. Wahl (P71364)
                                             Elise H. Yu (P79344)
                                             ARENTFOX SCHIFF LLP
                                             350 S. Main Street
                                             Suite 210
                                             Ann Arbor, MI 48104
                                             (734) 222-1517
                                             suzanne.wahl@afslaw.com
                                             elise.yu@afslaw.com


                                             Attorneys for Defendant
                                             National Association of Realtors®




                                      2
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2494 Filed 02/23/23 Page 3 of 37




                        CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that on February 23, 2023, the

foregoing Defendant National Association of Realtors’ Motion to Dismiss the

Second Amended Complaint was electronically filed with the Clerk of the Court by

utilizing the CM/ECF System, which will provide electronic notification to all

counsel of record.


                                           /s/ Tiana Demas
                                           Tiana Demas




                                       3
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2495 Filed 02/23/23 Page 4 of 37




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

JOSHUA MURRAY, individually and
on behalf of all others similarly situated,
                                              Case No. 4:22-cv-11107-FKB-DRG
                 Plaintiff,
                                              HON. F. KAY BEHM
                                              Magistrate Judge David R. Grand


      v.
                                              MEMORANDUM IN SUPPORT
NATIONAL ASSOCIATION OF                       OF DEFENDANT NATIONAL
REALTORS,                                     ASSOCIATION OF REALTORS’
                                              MOTION TO DISMISS
                 Defendant.
                                              PLAINTIFF’S SECOND
                                              AMENDED COMPLAINT
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2496 Filed 02/23/23 Page 5 of 37

                                         TABLE OF CONTENTS

                                                                                                                   Page

STATEMENT OF ISSUES PRESENTED.............................................................. vi
CONTROLLING OR MOST APPROPRIATE AUTHORITY ............................. vii
PRELIMINARY STATEMENT ...............................................................................1
BACKGROUND .......................................................................................................4
         A.       Plaintiff’s Allegations ...........................................................................4
         B.       NAR and REALTOR® Magazine ........................................................6
         C.       Plaintiff’s NAR Membership ................................................................7
         D.       The Statutory Scheme ...........................................................................7
ARGUMENT .............................................................................................................8
         A.       The SAC Must Be Dismissed for Lack of Subject Matter
                  Jurisdiction Because Plaintiff Cannot Establish Article III
                  Standing. ................................................................................................8
                  1.       Legal Standard ............................................................................8
                  2.       Plaintiff Lacks Article III Standing. .........................................10
         B.       The SAC Must Be Dismissed for Failure to State a Claim.................16
                  1.       Legal Standard ..........................................................................17
                  2.       NAR is Not “Engaged in the Business of” Selling
                           Written Materials. .....................................................................18
                  3.       Plaintiff Fails to Allege Facts Sufficient to Show that
                           NAR Disclosed Plaintiff’s PRI Between May 20 and July
                           30, 2016. ....................................................................................20
CONCLUSION ........................................................................................................24
CERTIFICATE OF SERVICE ................................................................................26




                                                            -i-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2497 Filed 02/23/23 Page 6 of 37


                                       TABLE OF AUTHORITIES

                                                                                                                  Page(s)

Cases

16630 Southfield Ltd. P’ship v. Flagstar Bank, F.S.B.,
   727 F.3d 502 (6th Cir. 2013) .............................................................................. 17

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ......................................................................................17, 19

Ayers v. Gabis,
   No. 20-cv-11735, 2021 WL 4785751 (E.D. Mich. Apr. 2, 2021),
   report and recommendation adopted by, 2021 WL 4316853 (E.D.
   Mich. Sept. 23, 2021).......................................................................................... 18

Bailey v. City of Ann Arbor,
   860 F.3d 382 (6th Cir. 2017) .............................................................................. 18

Bell Atlantic Corp. v. Twombly,
   550 U.S. 544 (2007) ......................................................................................17, 19

Bickerstaff v. Lucarelli,
   830 F.3d 388 (6th Cir. 2016) .............................................................................. 19

Bishop v. Lucent Techs., Inc.,
   520 F.3d 516 (6th Cir. 2008) .............................................................................. 21

Boelter v. Advance Mag. Publishers Inc.,
  210 F. Supp. 3d 579 (S.D.N.Y. 2016) ................................................................ 13

Boelter v. Hearst Commc’ns, Inc.,
  269 F. Supp. 3d 172 (S.D.N.Y. 2017) ................................................................ 20

Bolton v. Dep’t of the Navy Bd. for Correction of Naval Recs.,
   914 F.3d 401 (6th Cir. 2019) .............................................................................. 24

Burke v. Meredith Corp.,
  No. 4:21-cv-00335-RGE-SBJ, ECF No. 34 (S.D. Iowa Nov. 21,
  2022) ................................................................................................................... 15

Cartwright v. Garner,
  751 F.3d 752 (6th Cir. 2014) ................................................................................ 9


                                                            -ii-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2498 Filed 02/23/23 Page 7 of 37


                                   TABLE OF AUTHORITIES
                                         (continued)

                                                                                                       Page(s)

Cates v. Crystal Clear Techs., LLC,
  874 F.3d 530 (6th Cir. 2017) .............................................................................. 19

Coulter-Owens v. Time Inc.,
  695 F. App’x 117 (6th Cir. 2017) ...........................................................11, 13, 23

Crane v. New York Times Co.,
  2:22-cv-12603-SJM-DRG, ECF No. 1 (E.D. Mich. Oct. 28, 2022)..................... 1

D’Ambrosio v. Marino,
  747 F.3d 378 (6th Cir. 2014) .............................................................................. 17

Edwards v. Hearst Commc’ns, Inc.,
  No. 15-cv-9279, 2016 WL 6651563 (S.D.N.Y. Nov. 9, 2016) .......................... 20

Gavitt v. Born,
  835 F.3d 623 (6th Cir. 2016) ........................................................................17, 18

Gentek Bldg. Prods., Inc. v. Sherwin-Williams Co.,
  491 F.3d 320 (6th Cir. 2007) ................................................................................ 9

Jones v. Lacey,
   108 F. Supp. 3d 573 (E.D. Mich. 2015) ............................................................. 14

Kaplan v. Univ. of Louisville,
  10 F. 4th 569 (6th Cir. 2021) ........................................................................18, 19

Lin v. Crain Commc’ns Inc.,
   No. 19-cv-11889, 2020 WL 248445 (E.D. Mich. Jan. 16, 2020) .................11, 13

Lyshe v. Levy,
   854 F.3d 855 (6th Cir. 2017) ................................................................................ 9

Mathews v. ALC Partner Inc.,
  No. 4:08-cv-10636, 2009 WL 2390526 (E.D. Mich. July 31, 2009) ................. 10

Murray v. U.S. Dep’t of Treasury,
  681 F.3d 744 (6th Cir. 2012) ................................................................................ 8




                                                      -iii-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2499 Filed 02/23/23 Page 8 of 37


                                     TABLE OF AUTHORITIES
                                           (continued)

                                                                                                           Page(s)

Nashel v. New York Times Co.,
  No. 2:22-cv-10633, 2022 WL 6775657 (E.D. Mich. Oct. 11, 2022) .....15, 21, 22

Pratt v. KSE Sportsman Media, Inc.,
   586 F. Supp. 3d 666 (E.D. Mich. 2022) ............................................................. 10

Prime Media, Inc. v. City of Brentwood,
   485 F.3d 343 (6th Cir. 2007) ................................................................................ 8

Raden v. Martha Stewart Living Omnimedia, Inc.,
  No. 16-cv-12808, 2017 WL 3085371 (E.D. Mich. Jul. 20, 2017) ..................... 11

Renne v. Geary,
  501 U.S. 312 (1991) .............................................................................................. 9

RMI Titanium Co. v. Westinghouse Elec. Corp.,
  78 F.3d 1125 (6th Cir. 1996) .............................................................................. 10

Simon v. E. Ky. Welfare Rights Org.,
   426 U.S. 26 (1976) .............................................................................................. 12

Smith v. CommonSpirit Health,
  37 F.4th 1160 (6th Cir. 2022) ............................................................................. 17

Soehnlen v. Fleet Owners Ins. Fund,
   844 F.3d 576 (6th Cir. 2016) ................................................................................ 9

Spokeo, Inc. v. Robins,
   578 U.S. 330 (2016) .....................................................................................passim

Taylor v. KeyCorp,
   680 F.3d 609 (6th Cir. 2012) .............................................................................. 10

TransUnion LLC v. Ramirez,
   141 S. Ct. 2190 (2021) ............................................................................11, 15, 16

Vermont Agency of Natural Resources v. United States ex. rel.
   Stevens,
   529 U.S. 765 (2000) ......................................................................................12, 15



                                                        -iv-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2500 Filed 02/23/23 Page 9 of 37


                                       TABLE OF AUTHORITIES
                                             (continued)

                                                                                                                  Page(s)

Wheaton v. Apple Inc.,
  No. 19-cv-02883-WHA, 2019 WL 5536214 (N.D. Cal. Oct. 24,
  2019) ................................................................................................................... 22

White v. Newsmax Media, Inc.,
  No. 5:22-cv-11765-JEL-JJCG, ECF No. 1 (E.D. Mich. July 30,
  2022) ...............................................................................................................1, 23

Williams v. City of Cleveland,
   907 F.3d 924 (6th Cir. 2018) .............................................................................. 12

Statutes

H.B. No. 5331, 1988 Mich. Legis. Serv. 378 (West) ................................................ 2

M.C.L.
  § 445.1711......................................................................................................... 1, 8
  § 445.1712....................................................................................................passim
  § 445.1713........................................................................................................... 23
  § 445.1715............................................................................................................. 8
  § 445.1715............................................................................................................. 8
  § 600.5805........................................................................................................... 20
  § 600.5813........................................................................................................... 21

Mich. Pub. Acts 1988, No. 378, eff. Mar. 30, 1989 ............................................... 7, 8

Other Authorities

Fed. R. Civ. P.
   12(b)(1) ...................................................................................................1, 3, 9, 10
   12(b)(6) ...........................................................................................................1, 17




                                                            -v-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2501 Filed 02/23/23 Page 10 of 37




                    STATEMENT OF ISSUES PRESENTED

 1. Should the Court dismiss the Second Amended Complaint (“SAC”) for lack of
 Article III standing because Plaintiff cannot show an invasion of the narrow privacy
 interest protected by Michigan’s Preservation of Personal Privacy Act (“PPPA”)?

 Defendant’s Answer: Yes.

 2. Should the Court dismiss the SAC for failure to state a claim because the PPPA
 only applies to persons “engaged in the business of” selling books or written
 materials at retail, and Plaintiff has failed to sufficiently allege that NAR—a trade
 association that provides a free magazine to its members—is engaged in such
 business?

 Defendant’s Answer: Yes.

 3. Should the Court dismiss the SAC as time-barred because Plaintiff’s claim is
 governed by the three-year statute of limitations set forth in Michigan Compiled
 Laws § 600.5805(2)?

 Defendant’s Answer: Yes.

 4. Even assuming the six-year statute of limitations set forth in M.C.L. § 600.5813
 applies, should the Court dismiss the SAC for failure to sufficiently allege a PPPA
 violation during the narrow time frame between May 20 and July 30, 2016)?

 Defendant’s Answer: Yes.

 5. Does the alleged disclosure of Plaintiff’s information fall within the PPPA’s
 direct marketing exception?

 Defendant’s Answer: Yes.




                                         -vi-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2502 Filed 02/23/23 Page 11 of 37




         CONTROLLING OR MOST APPROPRIATE AUTHORITY

 The controlling or most appropriate authority supporting this Motion includes:

 1.    Coulter-Owens v. Time Inc., 695 F. App’x 117 (6th Cir. 2017).

 2.    Federal Rule of Civil Procedure 12(b)(1).

 3.    Federal Rule of Civil Procedure 12(b)(6).

 4.    Nashel v. New York Times Co., No. 2:22-cv-10633, 2022 WL 6775657 (E.D.
       Mich. Oct. 11, 2022).

 5.    RMI Titanium Co. v. Westinghouse Elec. Corp., 78 F.3d 1125 (6th Cir. 1996).

 6.    TransUnion LLC v. Ramirez,* 141 S. Ct. 2190 (2021).

 7.    Vermont Agency of Natural Resources v. United States ex. rel. Stevens, 529
       U.S. 765 (2000).

 8.    Wheaton v. Apple, Inc., No. 19-cv-02883-WHA, 2019 WL 5536214 (N.D.
       Cal. Oct. 25, 2019).




                                        -vii-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2503 Filed 02/23/23 Page 12 of 37




        Defendant National Association of Realtors® (“NAR”) respectfully submits

 this memorandum and the accompanying declaration of Colleen Doyle in support of

 its Motion, under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), to dismiss

 Plaintiff’s Second Amended Complaint (“SAC”) for lack of Article III standing and

 failure to state a claim.

                             PRELIMINARY STATEMENT

        This case is one of dozens Plaintiff’s counsel has filed throughout the country

 seeking to obtain windfall damages under Michigan’s Preservation of Personal

 Privacy Act, M.C.L. §§ 445.1711 et seq. (1989) (hereinafter “PPPA”).1 2 The PPPA

 has no application here, and the SAC should be dismissed without further leave to

 amend. The Michigan Legislature enacted the PPPA to protect a limited privacy

 interest in the books or other written materials a person chooses to buy, rent, or



 1
   Since 2021, Plaintiff’s counsel, Hedin Hall LLP and Bursor & Fisher PA, have
 jointly filed over 40 cases under the unamended version of the PPPA and many more
 separately. See, e.g., Crane v. New York Times Co., 2:22-cv-12603-SJM-DRG, ECF
 No. 1, (E.D. Mich. Oct. 28, 2022); White v. Newsmax Media, Inc., No. 5:22-cv-
 11765-JEL-JJCG, ECF No. 1, (E.D. Mich. July 30, 2022); Moore v. Columbia Books
 Inc., No. 1:22-cv-00583-HYJ-RSK, ECF No. 1, (W.D. Mich. Jun. 23, 2022); Pett v.
 Publishers Clearing House, Inc., No. 2:22-cv-11389-DPH-EAS, ECF No. 1, (E.D.
 Mich. Jun. 22, 2022); Taylor v. Active Interest Media, Inc., No. 1:22-cv-00447-HYJ-
 RSK, ECF No. 1, (W.D. Mich. May 17, 2022); Nashel v. New York Times Co., 2:22-
 cv-10633-SJM-DRG, ECF No. 1, (E.D. Mich. Mar. 24, 2022).
 2
  To distinguish between the unamended version of the PPPA at issue here and the
 amended version passed in 2016, the latter version is referred to as the “Amended
 PPPA” or “Am. PPPA.”

                                          -1-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2504 Filed 02/23/23 Page 13 of 37




 borrow.3 Consistent with its narrow purpose, the statute prohibits only persons who

 are “engaged in the business of” selling such written materials at retail from

 disclosing information identifying a person as having purchased, leased, rented, or

 borrowed such material. PPPA, § 445.1712. Having apparently exhausted the

 universe of entities that actually sell magazines at retail, Plaintiff’s counsel has sued

 NAR, a trade association of real estate professionals that provides an unsolicited

 trade magazine to all its members at no additional charge. NAR’s alleged disclosure

 of the recipient list of a complimentary magazine does not fall within the PPPA’s

 prohibition on identifying a person “as having purchased, leased, rented, or

 borrowed” written material, and its application here would not serve the statute’s

 purpose: to prevent disclosure of Michigan residents’ personal reading choices.

       The Court should dismiss the SAC for several reasons. First, the Court lacks

 subject-matter jurisdiction because as a factual matter, Plaintiff has not suffered an

 injury in fact and lacks Article III standing. The affidavit submitted with this Motion

 and documents attached to the SAC establish that NAR did not identify Plaintiff to

 anyone “as having purchased, leased, rented, or borrowed” books or other written

 materials, as required to establish a privacy injury under the PPPA. At most (and



 3
   See H.B. No. 5331, 1988 Mich. Legis. Serv. 378 (West) (attached as Exhibit F to
 the SAC) (describing the “apparent problem” as the disclosure of “one’s choice in
 videos, records, and books,” and stating that the PPPA’s purpose is to “protect a
 consumer’s privacy in buying and borrowing such items”) (emphasis added).

                                           -2-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2505 Filed 02/23/23 Page 14 of 37




 there is no credible allegation this occurred during the relevant time frame), the SAC

 alleges that NAR has at times disclosed to direct mail marketers that its members

 receive a free trade magazine they did not ask to receive. This is not an actionable

 PPPA disclosure because it does not reveal anything about a retail magazine

 purchase or Plaintiff’s reading choices. Plaintiff’s allegations to the contrary are not

 entitled to the presumption of truth on a factual challenge to standing, and the Court

 should dismiss the SAC for lack of subject-matter jurisdiction, pursuant to Rule

 12(b)(1).

       Second, the SAC fails to state a claim because the PPPA applies only to

 persons or entities who are “engaged in the business of selling at retail, renting, or

 lending books or other written materials[.]” PPPA § 445.1712. Plaintiff has not

 sufficiently alleged that NAR—a trade association that sends all members a

 complimentary magazine—is engaged in that business, or that it sold, rented, or lent

 Plaintiff any written material. The SAC and its incorporated documents confirm that

 NAR provided the magazine to its members as a free benefit and that the value of

 the magazine is “non-deductible” from membership dues.

       Third, even if the PPPA has a six-year statute of limitations, Plaintiff has not

 pleaded any facts showing that NAR disclosed his information during the narrow

 time frame as to which he may claim damages: May 20 to July 30, 2016.




                                           -3-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2506 Filed 02/23/23 Page 15 of 37




       Fourth, even assuming that Plaintiff has sufficiently alleged a disclosure

 during the narrow time frame, the SAC, its exhibits, and judicially-noticeable

 documents establish that any such disclosure falls within the PPPA’s direct

 marketing exception.

       For these reasons, the Court should dismiss the SAC.

                                   BACKGROUND

       A.     Plaintiff’s Allegations

       Plaintiff is a resident of South Lyon, Michigan, who allegedly “subscribe[d]

 to” REALTOR® Magazine. SAC ¶ 11, ECF No. 30, PageID.1945. He asserts a

 single PPPA claim, premised on NAR’s purported disclosure of “mailing lists” to

 “data aggregators, data appenders, data cooperatives, and list brokers[.]” Id. ¶ 1.

 Plaintiff claims these mailing lists contain his and other Michigan residents’ “Private

 Reading Information,” a term he invented for this litigation, which he defines as

 “customers’ information—including their full names, titles of publications

 subscribed to, and home addresses[.]” Id. ¶ 6.

       Plaintiff incorporates into the SAC a screenshot dated January 10, 2022, from

 NextMark, Inc., a third-party “list broker.” Id. ¶ 2 & Ex. A. Although Plaintiff asserts

 NextMark sells a list “contain[ing] the Private Reading Information of all 1,413,832

 of NAR’s active U.S. subscribers,” id. ¶ 2, the NextMark screenshot does not contain

 Plaintiff’s name or address, or anyone else’s. Despite claiming that anyone could



                                           -4-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2507 Filed 02/23/23 Page 16 of 37




 purchase the NextMark list, Plaintiff does not allege he ever ordered the list to see if

 his name, address, and magazine purchase information ever was on it. Id. ¶¶ 2–6.

 Plaintiff also does not allege that NextMark obtained the information on its list(s)

 from NAR. Id.

       The SAC incorporates archived portions of NAR’s website from 2016 and

 2017 (id. ¶ 7 & Exs. B-D), headed “Direct Mail List,” which states that NAR’s

 “subscriber names and addresses” can be “rented on a per usage basis” by contacting

 Lake Group Media by email or phone. Id. Plaintiff does not allege he ever contacted

 Lake Group Media or obtained a record reflecting his name, address, or magazine

 purchase information from them.

       Plaintiff asserts he “purchased his subscription of Realtor magazine directly

 from NAR at the price of $6.00,” but omits that the exhibit he relies on states:

 “members’ yearly subscription price is included in the dues and is non-deductible

 therefrom.” Id. ¶ 11 & Ex. E (emphasis added). Plaintiff also alleges that “non-

 members may pay $56.00 for a subscription,” but does not claim he was a non-

 member or bought a non-member subscription during the relevant time. Id. ¶ 48.

       Despite incorporating NAR’s website into the SAC and claiming that NAR’s

 alleged disclosures to third parties fall outside the PPPA’s direct marketing

 exception, id. ¶ 73, Plaintiff omits that since throughout 2016, NAR’s website has

 contained a method to opt out of direct marketing mail. Declaration of Colleen



                                           -5-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2508 Filed 02/23/23 Page 17 of 37




 Doyle, attached hereto as Exhibit 1 (“Doyle Decl.”), ¶¶ 21-23 (attaching screenshot

 of NAR member profile page with direct marketing mail opt-out).

       Plaintiff seeks to represent a class of “all Michigan residents who, at any point

 during the relevant pre-July 30, 2016 time period, had their [full names, titles of

 publications subscribed to, and home addresses] disclosed to third parties by NAR

 without consent.” SAC ¶ 51. He requests statutory damages of “$5,000.00 per Class

 member[.]” Id. ¶ 75. Plaintiff does not claim he suffered any actual damages as a

 result of a PPPA violation.

       B.    NAR and REALTOR® Magazine

       NAR is the country’s largest trade association, representing over 1.5 million

 members who are engaged in various facets of the real estate industry. Doyle Decl.

 ¶ 3. NAR’s primary goal is to support the right to own, buy, and sell real property.

 Id. NAR provides many benefits to its members, including advocating on their behalf

 to federal government policymakers, offering designation and certification courses,

 and providing discounted prices on products and services offered by NAR’s business

 partners. Id. ¶ 4. NAR members are permitted to publicize their membership by using

 the term REALTOR® next to their names. Id. ¶ 13. This mark has one meaning:

 NAR membership, and it signifies a real estate professional’s pledge to adhere to

 NAR’s strict code of ethics. Id. NAR sends all members REALTOR® Magazine at

 no additional charge. Id. ¶ 5. NAR does not sell subscriptions of the magazine to



                                          -6-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2509 Filed 02/23/23 Page 18 of 37




 members. Id. NAR members who opt out of receiving REALTOR® Magazine by

 mail are not refunded any portion of their membership dues. Id. ¶ 6; SAC ¶ 11 & Ex.

 E.

       C.     Plaintiff’s NAR Membership

       Plaintiff became a NAR member in November 2007, he currently is an active

 NAR member, and he was so throughout 2016. Doyle Decl. ¶¶ 8-10. During that

 time, Murray paid his membership dues directly to the Livingston County AOR local

 association of NAR; the local association then disbursed NAR’s portion of the dues

 to NAR. Id. ¶ 10. In 2016, only eight nonmembers of NAR with Michigan

 addresses—all businesses—paid $56 to receive REALTOR® Magazine by mail. Id.

 ¶ 12. Plaintiff was not one of these businesses. Id. Plaintiff’s NAR membership

 (along with his photo and other information) is advertised on realtor.com, a publicly-

 available website. Id. ¶ 17.

       D.     The Statutory Scheme

       Enacted in 1989 soon after the passage of the federal Video Protection Privacy

 Act (“VPPA”), the PPPA’s stated purpose is to “preserve personal privacy with

 respect to the purchase, rental, or borrowing of certain materials,” Mich. Pub. Acts

 1988, No. 378, eff. Mar. 30, 1989, as relevant here, “books or other written

 materials,” PPPA § 445.1712. A person violates the PPPA if: (1) they are “engaged

 in the business of selling at retail, renting, or lending books or other written



                                          -7-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2510 Filed 02/23/23 Page 19 of 37




 materials,” and (2) they “disclose to any person, other than the customer, a record or

 other information concerning the purchase, lease, rental, or borrowing of those

 materials that indicates the identity of the customer.” Id. “‘Customer’ means a person

 who purchases, rents, or borrows a book or other written material[.]” Id.

 § 445.1711(a). The original version of the PPPA contained a statutory damages

 provision of $5,000 for a violation of the Act. PPPA § 445.1715.

       In 2016, the Michigan legislature amended the PPPA and removed the

 statutory damages provision. Am. PPPA § 445.1715. To sue under the amended

 statute, which went into effect on July 31, 2016, a plaintiff must “suffer[] actual

 damages as a result of a violation of this act[.]” Id. § 445.1715(2).

                                    ARGUMENT

       A.     The SAC Must Be Dismissed for Lack of Subject Matter
              Jurisdiction Because Plaintiff Cannot Establish Article III
              Standing.

              1.     Legal Standard

       Article III of the U.S. Constitution limits federal court jurisdiction to “actual

 cases or controversies, neither of which exists unless a plaintiff establishes his

 standing to sue.” Murray v. U.S. Dep’t of Treasury, 681 F.3d 744, 748 (6th Cir.

 2012). A plaintiff therefore cannot “litigate a case in federal court without

 establishing constitutional standing[.]” Prime Media, Inc. v. City of Brentwood, 485

 F.3d 343, 349 (6th Cir. 2007) (emphasis in original). This is true “even in the context

 of a statutory violation.” Spokeo, Inc. v. Robins, 578 U.S. 330, 341 (2016).

                                          -8-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2511 Filed 02/23/23 Page 20 of 37




       Courts “presume that [they] lack jurisdiction unless the contrary appears

 affirmatively from the record.” Renne v. Geary, 501 U.S. 312, 316 (1991) (internal

 quotations and citations omitted). A plaintiff can establish he has standing only if:

 (1) he suffers an injury in fact which is (a) concrete and particularized, and (b) actual

 or imminent, not conjectural or hypothetical; (2) the injury is fairly traceable to the

 challenged action of the defendant; and (3) it is likely, as opposed to merely

 speculative, that the injury will be redressed by a favorable decision. Soehnlen v.

 Fleet Owners Ins. Fund, 844 F.3d 576, 581 (6th Cir. 2016). These requirements

 ensure that plaintiffs have a “personal stake in the outcome of the controversy as to

 warrant their invocation of federal-court jurisdiction and to justify exercise of the

 court’s remedial powers on their behalf.” Id. (internal quotations and citation

 omitted).

       Federal Rule of Civil Procedure 12(b)(1) is the proper vehicle to seek

 dismissal for lack of standing. Lyshe v. Levy, 854 F.3d 855, 857 (6th Cir. 2017)

 (“Whether a party has standing is an issue of the court’s subject matter jurisdiction

 under Federal Rule of Civil Procedure 12(b)(1).”). A defendant may pursue either a

 factual or facial challenge to standing. Gentek Bldg. Prods., Inc. v. Sherwin-Williams

 Co., 491 F.3d 320, 330 (6th Cir. 2007). A facial attack contests the sufficiency of

 the pleadings, and a factual attack contests the actual truth of the jurisdictional

 allegations. Cartwright v. Garner, 751 F.3d 752, 759 (6th Cir. 2014). A defendant



                                           -9-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2512 Filed 02/23/23 Page 21 of 37




 making a factual attack may use sworn testimony to expose the plaintiff’s failure to

 comport with subject-matter jurisdiction prerequisites. Taylor v. KeyCorp, 680 F.3d

 609, 612 (6th Cir. 2012).4 There are no “safeguards to the plaintiff” when a defendant

 raises a factual attack. RMI Titanium Co. v. Westinghouse Elec. Corp., 78 F.3d 1125,

 1134 (6th Cir. 1996) (citation omitted). There is (1) no presumptive truthfulness

 attached to the plaintiff’s allegations; (2) the burden to establish subject matter

 jurisdiction shifts to the plaintiff; and (3) the Court may weigh the evidence before

 it and resolve factual disputes. Id.

              2.     Plaintiff Lacks Article III Standing.

       Plaintiff lacks standing because the only asserted (and possible) injury in fact

 under the PPPA is an invasion of privacy in one’s reading choices, and he has not

 suffered any such injury. Courts in the Sixth Circuit have consistently held that

 Article III standing for an alleged PPPA violation must be based on the

 “nonconsensual dissemination of information that reflects a plaintiff’s personal

 reading choices, which acutely invades a protected right to privacy in such matters

 and, thus, inflicts harm in a concrete and particularized way, albeit intangibly.” Pratt


 4
   A defendant may make a factual challenge before answering a complaint. Mathews
 v. ALC Partner Inc., No. 4:08-cv-10636, 2009 WL 2390526, at *4 (E.D. Mich. July
 31, 2009) (“a rule permitting factual attacks on the jurisdictional basis of a complaint
 to occur only after an answer is filed is utterly incompatible with the Sixth Circuit’s
 clear and repeated holding that such a factual attack is properly brought by motion
 under Federal Rule of Civil Procedure 12(b)(1)”).


                                          -10-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2513 Filed 02/23/23 Page 22 of 37




 v. KSE Sportsman Media, Inc., 586 F. Supp. 3d 666, 676–78 (E.D. Mich. 2022)

 (emphasis added) (“Defendant’s violation of the PPPA, assumed true, violated

 Plaintiffs’ statutorily conferred right to privacy in their reading habits—an

 intangible harm presenting ample constitutional mooring for Article III purposes.”)

 (emphasis added). See also Coulter-Owens v. Time Inc., 695 F. App’x 117, 121 (6th

 Cir. 2017); Lin v. Crain Commc’ns Inc., No. 19-cv-11889, 2020 WL 248445, at *6

 (E.D. Mich. Jan. 16, 2020) (“The PPPA gives [plaintiff] a legally protected interest

 in the privacy of his reading choices.”) (emphasis added); Raden v. Martha Stewart

 Living Omnimedia, Inc., No. 16-cv-12808, 2017 WL 3085371, at *3 (E.D. Mich.

 Jul. 20, 2017) (same).

       These cases are consistent with the Supreme Court’s instruction that a plaintiff

 “does not automatically satisfy the injury-in-fact requirement whenever a statute

 grants a person a statutory right and purports to authorize that person to sue to

 vindicate that right.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2220 (2021)

 (quotations and alterations omitted). “Central to assessing concreteness is whether

 the asserted harm has a ‘close relationship’ to a harm ‘traditionally’ recognized as

 providing a basis for a lawsuit in American courts.” Id. at 2197, 2200 (citing Spokeo,

 578 U.S. at 340). Accordingly, Plaintiff has standing only if he can show an invasion

 of privacy in the reading material he affirmatively chose to receive—i.e., material

 he purchased at retail, rented, or borrowed—and that the “intangible injur[y]” is



                                         -11-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2514 Filed 02/23/23 Page 23 of 37




 closely related to “a harm that traditionally been regarded as providing a basis for a

 lawsuit in English or American Courts.” Spokeo, 578 U.S. at 341 (citing Vermont

 Agency of Natural Resources v. United States ex. rel. Stevens, 529 U.S. 765, 775–

 777 (2000)).

       Plaintiff allegedly “purchased his subscription to Realtor magazine directly

 from NAR at the price of $6.00,” and NAR members allegedly “subscribe as part of

 their $6.00 membership.” SAC ¶¶ 11, 48. But these allegations are demonstrably

 false. Plaintiff is an active NAR member, and he was so throughout 2016. Doyle

 Decl. ¶ 8. The very document Plaintiff incorporates into the SAC clearly states:

 “Members’ yearly subscription price is included in the dues and is non-deductible

 therefrom.” SAC Ex. E (emphasis added); see also Doyle Decl. ¶ 5. Plaintiff did not

 “purchase his subscription” to REALTOR® magazine; it was a free (and non-

 deductible) membership benefit.5 Because he did not purchase the magazine, he



 5
   Plaintiff cannot rely on the alleged injury of other potential class members to satisfy
 Article III. In the putative class action context, the “named plaintiffs who represent
 a class must allege and show that they personally have been injured, not that injury
 has been suffered by other unidentified members of the class to which they belong
 and which they purport to represent.” Simon v. E. Ky. Welfare Rights Org., 426 U.S.
 26, 40 n.20 (1976) (citation omitted); see also Williams v. City of Cleveland, 907
 F.3d 924, 934 (6th Cir. 2018) (“The class action nature of Williams’s complaint also
 does not cure her standing dilemma . . . . it does not affect whether Williams, as the
 named plaintiff, had ‘a live, actionable claim[.]’” (citation omitted)). Thus, it is
 irrelevant for Article III purposes that some non-NAR members may have purchased
 REALTOR® Magazine subscriptions for $56. Doyle Decl. ¶¶ 8-10. Plaintiff was an
 active NAR member throughout 2016, and he received the magazine as a

                                           -12-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2515 Filed 02/23/23 Page 24 of 37




 cannot establish the narrow privacy injury protected by the PPPA. See Lin, 2020

 WL 248445, at *6 (failure to establish the PPPA’s “as having purchased” element is

 fatal to a PPPA claim because the PPPA solely protects an individual’s right of

 privacy in the reading material he chooses to purchase, lease, rent, or borrow).6

       The Michigan legislature could have extended the PPPA’s protections to

 reading materials a person receives, but it cabined the statute’s reach to written

 materials “purchase[d], lease[d], rent[ed], or borrow[ed].” PPPA § 445.1712. And

 for good reason: There is no conceivable privacy interest to protect for the passive

 receipt of unrequested books or magazines. See SAC ¶ 20 (asserting that the related

 VPPA “protects the selection of books that we choose to read”) (emphasis added);

 see also Boelter v. Advance Mag. Publishers Inc., 210 F. Supp. 3d 579, 586

 (S.D.N.Y. 2016) (quoting the legislative history of the PPPA explaining that

 Michigan wanted to protect “one’s choice in videos, records, and books”) (emphasis

 added).




 complimentary membership benefit. He cannot assert standing on behalf of the
 unidentified class members.
 6
   Further, Plaintiff paid his membership dues to his local association, not to NAR
 directly. Doyle. Decl. ¶ 10. Even assuming, for the sake of argument, that the non-
 deductible portion of Plaintiff’s membership dues could be construed as a
 “purchase” of the magazine, it was not “at retail.” Coulter-Owens, 695 F. App’x at
 123–24 (affirming dismissal of PPPA claim where plaintiff purchased magazine
 from subscription agent, not from the publisher directly).

                                         -13-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2516 Filed 02/23/23 Page 25 of 37




       Plaintiff’s claimed privacy injury is further undermined because he publicly

 touts his NAR membership—and by extension his receipt of REALTOR®

 Magazine. All NAR members are allowed to publicize their NAR membership by

 using the term REALTOR® next to their names. Doyle Decl. ¶ 13. The REALTOR®

 mark has one meaning: member of NAR and the member’s agreement to adhere to

 NAR’s strict Code of Ethics. Id. NAR members can be identified by searching

 realtor.com, a publicly-available website, and only active members are displayed on

 realtor.com’s “Find a REALTOR®” directory. Id. ¶¶ 14-15. Plaintiff’s realtor.com

 profile prominently displays the REALTOR® mark and his NAR membership. Id.

 ¶ 20 & Ex. A. He cannot claim a privacy interest in information he publicly

 disseminates. See Jones v. Lacey, 108 F. Supp. 3d 573, 584 (E.D. Mich. 2015) (“a

 would-be plaintiff cannot assert a constitutional information-privacy claim as to

 information that was already in the public realm at the time of the alleged privacy

 breach”).

       Notably, Judge Ebinger in the Southern District of Iowa recently dismissed a

 similar mailing list case brought by the same Plaintiff’s counsel for lack of standing

 because: (1) the right protected by the statutes “does not bear the type of ‘close

 relationship’ to a traditional basis for lawsuit that the Spokeo Court had in mind,”

 and (2) “[b]ecause Plaintiffs do not allege their names were included on a mailing

 list sold or otherwise distributed by [defendant] to another party . . . Plaintiffs are ‘in



                                            -14-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2517 Filed 02/23/23 Page 26 of 37




 a like position to the TransUnion class members who learned their credits reports

 indicated their names were a potential match [to a name on a list of terrorists and

 other serious criminals] but whose credit reports had not been disseminated to

 potential creditors.’” Burke v. Meredith Corp., No. 4:21-cv-00335-RGE-SBJ, ECF

 No. 34 (S.D. Iowa Nov. 21, 2022) at pp. 12, 14 (citation omitted), attached as Exhibit

 2. Here, as with the right-of-publicity statutes in Burke, the right protected by the

 PPPA lacks “a close relationship to a harm that traditionally has been regarded as

 providing a basis for a lawsuit in English or American courts.” Spokeo, 578 U.S. at

 341. The case on which Spokeo relied for the concept of a “traditional” harm

 involved qui tam actions, which “originated around the end of the 13th century” and

 existed in “England and the American Colonies.” Id. (quoting ex rel Stevens, 529

 U.S. at 774). The PPPA is “not similarly rooted English and American history.”

 Exhibit 2 (Burke) at p. 10. As Judge Murphy recently noted in another PPPA case,

 “no Michigan case filed before 1989 . . . included a tort invasion-of-privacy claim

 based on the right to privacy in one’s reading materials or the dissemination of one’s

 name and address.” Nashel v. New York Times Co., No. 2:22-cv-10633, 2022 WL

 6775657, at *4 (E.D. Mich. Oct. 11, 2022) (collecting cases). The Court can dismiss

 the SAC for lack of Article III standing on this ground alone.

       And here, as in Burke, Plaintiff does not allege he has ever seen his (or any

 other Michigan resident’s) name on a NAR subscriber list that was actually sold to



                                         -15-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2518 Filed 02/23/23 Page 27 of 37




 a third party.7 Absent this allegation, the harm is insufficiently concrete to confer

 standing. See Ramirez, 141 S. Ct. at 2210 (group of plaintiffs whose erroneous credit

 reports were not disseminated to third parties lacked standing).

       Because Plaintiff cannot demonstrate an injury under the PPPA, he lacks

 Article III standing. The Court should therefore dismiss the SAC for lack of

 jurisdiction.

       B.        The SAC Must Be Dismissed for Failure to State a Claim.

       Even assuming Plaintiff has standing (he does not), the SAC is defective on

 many levels and should be dismissed for failure to state a claim. First, Plaintiff has

 failed to plead facts sufficient to show that the NAR is “engaged in the business of”

 selling reading materials, a critical element of a PPPA claim. Second, the SAC does

 not sufficiently allege that NAR violated the PPPA within the narrow window

 between May 20 and July 30, 2016.




 7
  To the extent Plaintiff relies on the alleged receipt of “junk mail” as a basis for a
 concrete injury, his assertion that the “uptick” occurred between May and July of
 2016 (SAC ¶¶ 1, 3), is not plausible and is contradicted on the face of the SAC.
 Plaintiff became an NAR member in 2007, and he never opted out of receiving the
 magazine by mail. Doyle Decl. ¶¶ 9-11. He asserts that NAR sold its “entire
 subscriber database to third-parties,” SAC ¶ 7, “as far back as the beginning of
 2015.” Id. ¶ 2. If the uptick in junk mail were tied to becoming an NAR member, it
 would have occurred in 2007, not 2016.

                                         -16-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2519 Filed 02/23/23 Page 28 of 37




              1.     Legal Standard

       A complaint should be dismissed if it fails to state a claim upon which relief

 can be granted. Fed. R. Civ. P. 12(b)(6). To withstand dismissal under Rule 12(b)(6),

 a plaintiff must “plead enough ‘factual matter’ to raise a ‘plausible’ inference” that

 the defendant is liable for the alleged misconduct. 16630 Southfield Ltd. P’ship v.

 Flagstar Bank, F.S.B., 727 F.3d 502, 504 (6th Cir. 2013) (quoting Ashcroft v. Iqbal,

 556 U.S. 662, 678 (2009)). When determining plausibility, the Court may rely on “a

 host of considerations, including common sense and the strength of competing

 explanations for the defendant’s conduct.” Id.

       Although the Court must otherwise accept all a complaint’s allegations as true

 and draw all reasonable inferences in the plaintiff’s favor, the allegations must

 contain “more than labels and conclusions, and a formulaic recitation of the elements

 of a cause of action[.]” Gavitt v. Born, 835 F.3d 623, 640 (6th Cir. 2016) (quoting

 Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Threadbare allegations

 are insufficient, and the Court “need not accept as true legal conclusions or

 unwarranted factual inferences[.]” D’Ambrosio v. Marino, 747 F.3d 378, 383 (6th

 Cir. 2014) (citation omitted).

       The Court may consider documents outside of the Complaint that are

 “publicly availabl[e], and judicially noticeable” if central to Plaintiff’s claim. Smith

 v. CommonSpirit Health, 37 F.4th 1160, 1168 (6th Cir. 2022). If the pleadings



                                          -17-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2520 Filed 02/23/23 Page 29 of 37




 “internally contradict verifiable facts central to his claims,” then a plaintiff’s

 allegations are implausible. Bailey v. City of Ann Arbor, 860 F.3d 382, 387 (6th Cir.

 2017). See also Kaplan v. Univ. of Louisville, 10 F. 4th 569, 576 (6th Cir. 2021)

 (“When an exhibit contradicts the complaint, ‘the exhibit trumps the allegations.’”).

              2.    NAR is Not “Engaged in the Business of” Selling Written
                    Materials.

       The Court should dismiss the SAC for failure to plead facts demonstrating

 that NAR is “engaged in the business of selling at retail, renting, or lending books

 or other written materials[.]” PPPA § 445.1712. As a threshold matter, Plaintiff does

 not allege any facts indicating that NAR rents or lends REALTOR® Magazine,

 much less that it is “engaged in the business” of this. The SAC solely alleges that

 “Plaintiff purchased his subscription to Realtor magazine directly from NAR at the

 price of $6.00” and that “non-members may pay $56.00 for a subscription.” SAC ¶¶

 11, 48. These allegations fall far short of pleading that NAR is “engaged in the

 business of selling” REALTOR® Magazine “at retail,” and in any event are directly

 contradicted by the SAC’s Exhibit E, as discussed below.

       A complaint must contain more than legal conclusions and bare recitations of

 a claim’s elements. Gavitt, 835 F.3d at 640–41; see also Ayers v. Gabis, No. 20-

 cv-11735, 2021 WL 4785751, at *3 (E.D. Mich. Apr. 2, 2021), report and

 recommendation adopted by, 2021 WL 4316853 (E.D. Mich. Sept. 23, 2021)

 (recommending dismissal because “Plaintiff offered no factual support upon which


                                         -18-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2521 Filed 02/23/23 Page 30 of 37




 a conspiracy could be based” and “[t]he conspiracy allegations are nothing more

 than conclusory, vague assertions which assert a conspiracy existed among the

 defendants.”). Courts will not consider conclusory allegations unsupported by any

 alleged facts. See Bickerstaff v. Lucarelli, 830 F.3d 388, 400 (6th Cir. 2016)

 (dismissing a claim that was supported only by conclusory allegations with “no facts

 to support those contentions.”). Here, the SAC contains a single, conclusory

 allegation that NAR is “engaged in the business of” selling written materials as a

 “magazine publisher that sells subscriptions to consumers[.]” SAC ¶ 59. Plaintiff’s

 lone “engaged in the business of” allegation finds no factual support in the SAC.

 Plaintiff has alleged nothing about NAR’s business and how it allegedly involves

 the selling of written materials at retail, as required by the PPPA. This threadbare

 allegation therefore does not satisfy the pleading standard set forth in Twombly and

 Iqbal, and the SAC should be dismissed for that reason.

       In addition to being threadbare, the allegation that NAR “sells subscriptions

 to consumers,” SAC ¶ 59, is directly contradicted by Exhibit E. The Sixth Circuit

 repeatedly has held that “[w]hen an exhibit contradicts the complaint, ‘the exhibit

 trumps the allegations.’” Kaplan, 10 F. 4th 569, 576 (quoting Cates v. Crystal Clear

 Techs., LLC, 874 F.3d 530, 536 (6th Cir. 2017). Exhibit E makes clear that NAR is

 not engaged in the business of selling magazines at retail. Among other things, it

 indicates that “100.0” percent of the magazines circulated were provided as a



                                        -19-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2522 Filed 02/23/23 Page 31 of 37




 “Membership Benefit” to NAR’s members and that the $6 subscription “price” was

 “included in the dues and is non-deductible therefrom.” SAC Ex. E. In other words,

 far from being engaged in the business of selling magazines at retail, NAR did not

 sell a magazine to any member. Plaintiff’s allegation concerning the non-member

 subscription price also fails to establish that NAR is “engaged in the business” of

 selling written materials at retail because Plaintiff does not allege that he, or anyone

 else, purchased a magazine subscription from NAR for the non-member subscription

 price.

          Because Plaintiff has failed to sufficiently allege that NAR is “engaged in the

 business of” selling books or other magazines “at retail,” the Court should dismiss

 the SAC.

                3.     Plaintiff Fails to Allege Facts Sufficient to Show that NAR
                       Disclosed Plaintiff’s PRI Between May 20 and July 30, 2016.

          Although the Michigan Supreme Court has not yet decided the statutory

 limitations period for the PPPA, other federal courts have recognized that M.C.L. §

 600.5805(2)’s three-year limitations period applies to PPPA claims. See, e.g.,

 Boelter v. Hearst Commc’ns, Inc., 269 F. Supp. 3d 172, 187 (S.D.N.Y. 2017);

 Edwards v. Hearst Commc’ns, Inc., No. 15-cv-9279, 2016 WL 6651563, at *1

 (S.D.N.Y. Nov. 9, 2016). Under the three-year statute of limitations, Plaintiff’s

 claim, which is alleged to have accrued prior to July 30, 2016, is plainly time-barred.




                                            -20-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2523 Filed 02/23/23 Page 32 of 37




        Nevertheless, Plaintiff contends that PPPA claims should be governed by the

 six-year catch-all period contained in M.C.L. § 600.5813. SAC ¶ 1, n.1. Section

 600.5813 provides: “All other personal actions shall be commenced within the

 period of 6 years after the claims accrue and not afterwards unless a different period

 is stated in the statutes.”

        But even if Section 600.5813’s six-year limitations period applies, the Court

 should dismiss the SAC because Plaintiff has failed to sufficiently plead compliance

 with that limitations period. Plaintiff filed the original Complaint on May 20, 2022,

 and a claim for any alleged disclosure before May 20, 2016 is time-barred. Apart

 from conclusory speculation, the SAC fails to allege when NAR allegedly disclosed

 Plaintiff’s identifying purchase records, let alone that this occurred between May 20

 and July 30, 2016.

        Plaintiff tries to overcome this pleading failure by pointing to the NextMark

 screenshot from 2022, which post-dates any relevant time period by nearly six years.

 SAC ¶ 2 & Ex. A. Judge Murphy recently dismissed a PPPA claim brought by the

 same Plaintiff’s counsel that relied on similarly outdated third-party data cards

 because such evidence “creates only suspicion as to whether Defendant violated the

 PPPA during the pre-July 31, 2016 period,” and “a complaint containing a statement

 of facts that merely creates a suspicion of a legally cognizable right of action is

 insufficient.” Nashel, 2022 WL 6775657, at *4 (quoting Bishop v. Lucent Techs.,



                                         -21-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2524 Filed 02/23/23 Page 33 of 37




 Inc., 520 F.3d 516, 520 (6th Cir. 2008)); see also Wheaton v. Apple Inc., No. 19-cv-

 02883-WHA, 2019 WL 5536214, at *4–5 (N.D. Cal. Oct. 24, 2019) (dismissing

 PPPA claim against Apple that relied on data card published by third-party data

 broker that allegedly sold Apple customers’ names, addresses, and personal listening

 information).

       Similar to the plaintiff in Nashel, Plaintiff asks the court to infer (without

 factual support) that “[t]he same or substantially similar ‘data card’ [as the one from

 2022] was also publicly advertised by NAR . . . for the entire duration of the pre-

 July 31, 2016 time period[.]” SAC ¶ 2 (emphasis added). Here, “nothing on the data

 cards explains how the list brokers received Defendant’s subscription list,” which

 fails to “create a reasonable inference that Defendant violated the PPPA.” Nashel,

 2022 WL 6775657, at *5. Crucially, Plaintiff does not allege, because he has no basis

 for doing so, that NAR actually disclosed his data during the relevant time period.

 This pleading failure is particularly notable because Plaintiff and his counsel had

 every ability to investigate the claim by contacting NextMark (via the “Get More

 Information” hyperlink), to order the advertised list and see if Plaintiff’s name,

 address, and nonexistent purchase information would be disclosed. SAC ¶ 2 & Ex.

 A. Tellingly, Plaintiff’s counsel did this exact investigation in another PPPA case,

 where they alleged that the named plaintiff’s information actually appeared on a

 subscription list they had purchased:



                                          -22-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2525 Filed 02/23/23 Page 34 of 37




              Plaintiff’s Personal Reading Information appeared on the
              subscriber lists that the NYT disclosed to these third
              parties during the relevant pre-July 31, 2016 time period.
              Indeed, prior to the filing of this action, Plaintiff’s counsel
              purchased from Exact Data . . . lists of all Michigan
              subscribers to The New York Times who appeared on data
              files transmitted by NYT to Data Axle and Exact Data
              during the period of December 2015 through July 2016.
              The lists Plaintiff’s counsel received from Exact Data
              included Plaintiff’s name and address. Exact Data advised
              Plaintiff’s counsel that the data appearing on these lists
              originated directly from NYT during the relevant pre-July
              31, 2016 time period.

 Crane v. New York Times Co., No. 2:22-cv-12603-MAG-KGA, ECF No. 1, ¶ 55

 (E.D. Mich. Oct. 28, 2022). The absence of any similar allegation here speaks

 volumes.

       Plaintiff also alleges that in 2016, NAR “was actively renting its entire

 subscriber database to third parties.” SAC ¶ 7 & Ex. B. The document plaintiff seeks

 to rely on is headed “Direct Mail List” and states: “Reach out to our 1 million real

 estate professionals through our subscriber list. Subscriber names and addresses are

 rented on a per usage basis.” Id. As the Sixth Circuit has noted, “selling [Plaintiff’s]

 information under [defendant’s] ‘list rental business,’ [] would fall within the ‘direct

 marketing exception’ of § 1713(d).” Coulter-Owens, 695 F. App’x at 120. Plaintiff’s

 allegation that he “saw a dramatic uptick in junk mail in his mailbox over the

 [relevant pre-July 2016 time period],” SAC ¶ 3, only underscores that the claimed

 disclosure falls within the PPPA’s direct marketing exception. See PPPA §



                                           -23-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2526 Filed 02/23/23 Page 35 of 37




 445.1713(d) (“A record or other information described in section 2 may be disclosed

 only in 1 or more of the following circumstances: (d) If the disclosure is for the

 exclusive purpose of marketing goods and services directly to the consumer. The

 person disclosing the information shall inform the consumer by written notice that

 the customer may remove his or her name at any time by written notice to the person

 disclosing the information.”). Furthermore, Plaintiff has incorporated into the SAC

 current and archived versions of NAR’s website, which contains (and has contained,

 since before 2016) a method to opt out of direct mail marketing.8 Doyle Decl. ¶¶ 21-

 23. Plaintiff’s “junk mail” allegation gives rise only to an inference of a disclosure

 that is expressly lawful under the direct-marketing exception. And Plaintiff does not

 allege he opted out of direct mail to prevent his receipt “junk mail.”

                                   CONCLUSION

       For the foregoing reasons, the SAC should be dismissed for lack of Article III

 standing, or alternatively, for failure to state a claim without leave to amend.




 8
  The Court may consider the direct mail opt out that is available on NAR’s website
 because Plaintiff has incorporated current and archived versions of NAR’s website
 into the SAC. See Bolton v. Dep’t of the Navy Bd. for Correction of Naval Recs., 914
 F.3d 401, 406 (6th Cir. 2019) (“We ‘consider the complaint in its entirety,’ including
 ‘documents incorporated into the complaint by reference.’” (citation omitted)).

                                          -24-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2527 Filed 02/23/23 Page 36 of 37




 Dated: February 23, 2023                   By: /s/ Tiana Demas
                                            Tiana Demas
                                            Philip M. Bowman
                                            COOLEY LLP
                                            55 Hudson Yards
                                            New York, NY 10001
                                            (212) 479-6000
                                            pbowman@cooley.com
                                            tdemas@cooley.com

                                            Khary J. Anderson
                                            COOLEY LLP
                                            1299 Pennsylvania Avenue, NW
                                            Suite 700
                                            Washington, DC 20004
                                            (202) 842-7800
                                            kjanderson@cooley.com

                                            Suzanne L. Wahl (P71364)
                                            Elise H. Yu (P79344)
                                            ARENTFOX SCHIFF LLP
                                            350 S. Main Street
                                            Suite 210
                                            Ann Arbor, MI 48104
                                            (734) 222-1517
                                            suzanne.wahl@afslaw.com
                                            elise.yu@afslaw.com

                                            Attorneys for Defendant    National
                                            Association of Realtors®




                                     -25-
Case 4:22-cv-11107-FKB-DRG ECF No. 31, PageID.2528 Filed 02/23/23 Page 37 of 37




                           CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on February 23, 2023, the

 foregoing Defendant National Association of Realtors’ Motion to Dismiss Plaintiff’s

 Second Amended Complaint and Memorandum in Support was electronically filed

 with the Clerk of the Court by utilizing the CM/ECF System, which will provide

 electronic notification to all counsel of record.


                                                  /s/ Tiana Demas
                                                  Tiana Demas




                                           -26-
